       4:98-cr-03007-RGK   Doc # 275   Filed: 02/07/06   Page 1 of 1 - Page ID # 148



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.

     CASE NUMBER            CAPTION                                HEARING DATE

     CR84-L-18              USA v. Stephenson                      10/01/84
     CR88-O-33              USA v. Adebiyi                         01/14/94
     8:92cr12               USA v. Hasan                           07/17/97
     8:93cr4                USA v. Greer                           03/08/05
     4:93cr3026             USA v. Chavez                          07/24/02
     4:93cr3059             USA v. Tomlinson                       08/30/93 and
                                                                   11/3 thru 11/5/98
     4:97cr3002             USA v. Johnson                         09/02/97;
                                                                   9/3 thru 9/5/97; and
                                                                   3/9 thru 3/11/98
     4:97cr3018             USA v. Kramer                          06/19/01
     4:97cr3031             USA v. Eastman                         02/11/98
     4:98cr3001             USA v. Zeilinger                       08/27/98
     4:98cr3005             USA v. Flores                          01/29/98
     4:98cr3005             USA v. Garcia-Sanchez                  02/03/98
     4:98cr3007             USA v. Pagan                           01/15/99
     4:98cr3007             USA v. Ramirez                         7/27 thru 7/29/98;
                                                                   and 02/26/99
     4:98cr3010             USA v. Haynes                          01/23/04
     4:98cr3054             USA v. Wright                          1/25/05 and 3/14/05
     4:98cr3076             USA v. Nunez                           02/15/00
     4:98cr3087             USA v. Armenta-Medrano                 11/20/00
     4:98cr3091             USA v. Fuller                          10/02/03
     4:98cr3101             USA v. Nehls                           07/12/99
     4:98cr3116             USA v. Ummel                           06/27/03
     8:99cr236              USA v. Zimmer                          07/24/01
     4:99cr3014             USA v. Herbeck                         07/25/02
     4:99cr3018             USA v. Jackson                         06/03/04
     4:99cr3020             USA v. Poulack                         10/1 thru 10/5/99
                                                                   and 02/11/00
     4:99cr3027             USA v. Alverez, Hernandez              09/21/99
     4:99cr3109             USA v. Lowell                          12/08/00

     DATED this 7th day of February, 2006.

                                        BY THE COURT

                                        s/ RICHARD G. KOPF
                                        United States District Judge
